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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION

FEDERAL TRADE COMMISSION,
STATE OF ARIZONA,
STATE OF CALIFORNIA,                                  Case No.: 3:24-cv-00347-AN
DISTRICT OF COLUMBIA,
STATE OF ILLINOIS,
STATE OF MARYLAND,                                    JOINT MOTION FOR EXTENSION OF
STATE OF NEVADA,                                      TIME
STATE OF NEW MEXICO,
STATE OF OREGON, and
STATE OF WYOMING,

Plaintiffs,

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.

                                   L.R. 7-1 CERTIFICATION

        The parties conferred in good faith and file this motion jointly.

                                             MOTION

        The parties respectfully jointly move the Court for brief extensions to file their

memoranda of law in support of, and in opposition to, Plaintiffs’ preliminary injunction motion.

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                                        MEMORANDUM

       Plaintiffs and Defendants respectfully request brief extensions to file their memoranda of

law in support of, and in opposition to, Plaintiffs’ preliminary injunction motion. Pursuant to the

Court’s Case Management and Scheduling Order, Plaintiffs’ memorandum of law is due on

Wednesday, July 24, 2024. Regrettably, Plaintiffs, like many other public and private entities,

have been impacted by Friday’s CrowdStrike outage. See generally Cristiano Lima-Stron & Cat

Zakrzewski, Microsoft’s Global Sprawl Comes Under Fire After Historic Outage, Washington

Post (July 20, 2024), at https://www.washingtonpost.com/technology/2024/07/20

/microsoft-outage-crowdstrike-regulatory-scrutiny/. Specifically, the CrowdStrike outage has

rendered completely unusable several of Plaintiffs’ staff’s laptops, including attorneys with

primary drafting responsibilities for Plaintiffs’ brief. Musser Declaration ¶ 3. While Plaintiffs are

attempting to resolve these issues, it appears that many of these team members will need to

obtain replacement laptops, which cannot be delivered until Tuesday, July 23, at the earliest.

Musser Declaration ¶ 4.

       Accordingly, Plaintiffs and Defendants respectfully request that the Court grant brief

extensions, and order that Plaintiffs’ memorandum of law in support of their preliminary

injunction motion be due on Friday, July 26, that Defendants’ opposition be due on Monday,

August 12, and that Plaintiffs’ reply be due August 21.




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Dated: July 21, 2024             Respectfully submitted,

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